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EXHIBIT NN
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
Case No. MDL No. 1456

Civil Action No. 01-12257-PBS

In Re: PHARMACEUTICAL INDUSTRY

AVERAGE WHOLESALE PRICE LITIGATION

(Captions continue on next page.)
VOLUME II
CONTINUED VIDEOTAPE DEPOSITION

OF LUIS COBO

Tuesday, March 4, 2008
21st Floor
2 South Biscayne Boulevard

Miami, Florida 33131

Reported by: Sherilynn McKay, RMR, CRR

Notary Public, State of Florida

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scope of documents in discovery and things like
that that I've come across specifically computer
programs from drug manufacturers.

Q. In fact, Mr. Cobo, you've never seen an
Abbott advertisement for any of the drugs listed
in paragraph 30 that markets the difference
between average wholesale price and acquisition
cost for those drugs, have you?

MR. BREEN: Objection. Form.

THE WITNESS: Well, again, my concept
of marketing the spread is as basic and
fundamental as making a representation of a
price, whether it's a contract price, average
wholesale price, all those things, you know,
serve to provide information which is reflective
of the spread, and I consider those as
representations of marketing the spread.

BY MR. COOK:

Q. So it's your testimony that Abbott
marketed the spread by offering lower prices to
customers? Do I have that correct?

MR. BREEN: Objection. Form.

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THE WITNESS: I think the issue is more

not just in offering lower prices, but in also
creating AWPs that in this particular instant
that are used by, you know, Medicaid and Medicare
for reimbursement. You know, when there is a
large variance in the acquisition price, in the
average wholesale price that is represented, and
fraudulently so, I mean, I think that represents
the spread that we're discussing and I think is a
tool for marketing the spread.
BY MR. COOK:

Q. Can you point to any other activity by
Abbott in which Abbott actively marketed the

spread for the drugs listed in Exhibit 30?

A. Not immediately as I sit here right
now, no.
Q. What other allegations in Exhibit 547

did you see with your own eyes, Mr. Cobo.

A. Forty-two. "While the majority of the
states published AWPs to calculate" -- "published
AWPs to calculate reimbursement, approximately

six states....have used wholesale acquisition

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